






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NOS. AP-75,958 &amp; AP-75,959




EX PARTE CHESTER KENNEDY, Applicant




ON APPLICATIONS FOR WRIT OF HABEAS CORPUS
CAUSE NOS. 114-1325-06-B &amp; 114-1327-06-B IN THE
114TH DISTRICT COURT FROM SMITH COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal
Procedure, the clerk of the trial court transmitted to this Court these applications for writ
of habeas corpus.  Ex parte Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967). 
Applicant was convicted of tampering with evidence and of theft by a public servant and
sentenced to ten years’ imprisonment.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that his counsel rendered ineffective assistance because, inter
alia, counsel failed to timely file notice of appeal.  We remanded this application to the trial
court for findings of fact and conclusions of law.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has determined that trial counsel was ineffective because she failed to
timely file notice of appeal and that counsel’s deficient performance prejudiced Applicant.  We
find, therefore, that Applicant is entitled to the opportunity to file an out-of-time appeal of the
judgment of conviction in Case Nos. 114-1325-06-B and 114-1327-06-B from the 114th Judicial
District Court of Smith County.  Applicant is ordered returned to that time at which he may give
written notices of appeal so that he may then, with the aid of counsel, obtain meaningful appeals. 
All time limits shall be calculated as if the sentences had been imposed on the date on which the
mandates of this Court issue.  We hold that, should Applicant desire to prosecute appeals, he
must take affirmative steps to file written notices of appeal in the trial court within 30 days after
the mandates of this Court issue.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant’s remaining claims are dismissed. See Ex parte Torres, 943 S.W.2d 469 (Tex.
Crim. App. 1997).
&nbsp;
Delivered: July 2, 2008
Do Not Publish


